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                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

 KATHLEEN HERALD,

                                Plaintiff,

 -vs-                                                       Case No. 6:19-cv-74-Orl-31GJK

 DELTA AIR LINES, INC.,

                         Defendant.
 _______________________________________

                                               ORDER
        This cause came on for consideration, without oral argument, on the following motion:


          MOTION:         MOTION FOR ADMISSION PRO HAC VICE AND
                          WRITTEN DESIGNATION AND CONSENT-TO-ACT
                          (Doc. No. 7)

          FILED:      January 25, 2019
          _______________________________________________________

          THEREON it is ORDERED that the motion is DENIED.


        On January 25, 2019, Defendant filed a motion asking that Matthew Weisberg, Esq.,

David Berlin, Esq., Gary Schafkopf, Esq., and Brian Mildenberg, Esq., be permitted to appear

pro hac vice in this case (the “Motion”). Doc. No. 7. Local Rule 2.02(a) requires that the attorney

seeking pro hac vice admission not be a resident of Florida, but that local counsel is a Florida

resident. The Motion does not state whether local counsel resides in Florida (as opposed to
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merely having an office here), as required by Rule 2.02(a). Doc. No. 7.

       Accordingly, it is ORDERED that the Motion (Doc. No. 7) is DENIED.

       DONE and ORDERED at Orlando, Florida, on January 28, 2019.




Copies to:

Counsel of Record
Unrepresented Parties




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